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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

JULIANNA G., a minor by and                    :
through her Parents, C.G. and D.G.,            :
          Plaintiffs,                          :
                                               :
            v.                                 :       Civ. No. 16-644
                                               :
UNIONVILLE-CHADDS FORD                         :
SCHOOL DISTRICT,                               :
       Defendant.                              :

                                          ORDER

         AND NOW, this 13th day of July, 2016, it having been reported that the issues between

the parties in the above action have been settled and upon Order of the Court pursuant to the

provisions of Rule 41.1(b) of the Local Rules of Civil Procedure of this Court, it is ORDERED

that the above action is DISMISSED with prejudice, pursuant to agreement of counsel without

costs.

                                                          AND IT IS SO ORDERED.

                                                          /s/ Paul S. Diamond
                                                          _______________________
                                                          Paul S. Diamond, J.
